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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


In the Matter of the Federal Bureau of Prisons’
Execution Protocol Cases,

LEAD CASE: Roane et al. v. Barr                       Case No. 19-mc-0145 (TSC)

THIS DOCUMENT RELATES TO:

Lee & Honken v. Barr, No. 19-cv-2559

Purkey v. Barr, No. 19-cv-3214

Nelson v. Barr, No. 20-cv-557


                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs respectfully submit this notice to alert the Court of a declaration the

Government filed today in Harkemeyer v. Barr, No. 2:20-cv-00336-JMS-MJD (S.D. Ind. July

12, 2020) (“Decl.”), a copy of which is attached.

       In the declaration, Rick Winter, Regional Counsel for the Bureau of Prisons’ North

Central Region, explains that BOP learned on July 8, 2020, that a staff member at FCI Terre

Haute had been exposed to individuals who tested positive for COVID-19. Decl. ¶ 4. Despite

this, BOP did not notify Plaintiffs of this development until today, after the staff member tested

positive on July 11. See id. ¶ 6. Between his exposure and July 8, the employee “among other

things, attended the law enforcement meeting with outside law enforcement in preparation for

the scheduled executions; attended a meeting regarding the handling of demonstrators at the

scheduled executions; and attended to an issue at the [Special Confinement Unit (“SCU”)].” Id.

¶ 5. He was not wearing “a mask at all times during this period.” Id. ¶ 7. At this time, the

Government cannot confirm everyone “with whom the staff member was in contact.” Id. ¶ 9.




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Nor does the Government confirm that the BOP’s execution team has not been in contact with

other employees who were exposed to the infected employee. See id. ¶¶ 8-9.

       The developments detailed in this declaration only confirm that Plaintiffs are entitled to a

preliminary injunction. First, the declaration starkly illustrates the burdens imposed by COVID-

19 on Plaintiffs’ access to counsel. See PI Mem. (ECF 102) at 33-38. The fact that an unknown

number of staff members at FCI Terre Haute have been exposed to the virus in the last week

draws into relief the dangers that counsel will be exposed to in order to attend the executions and

provide competent assistance to Plaintiffs during the critical hours leading up to the executions.

See id. at 37. Second, the fact that the infected employee “attended to an issue at the SCU,”

Decl. ¶ 5, where Plaintiffs are being housed, increases the likelihood that Plaintiffs have been

exposed to the virus, exacerbating the already-significant risk of lung-related complications

including pulmonary edema. See PI Mem. (ECF 102) at 37-38. Finally, the possibility that

others involved in the execution, including law enforcement personnel and victims, may be

exposed to the virus further tips the balance of the equities in Plaintiffs’ favor. Id. at 41-42.


DATED:        July 12, 2020                            /s/ Pieter Van Tol
                                                       Pieter Van Tol (admitted pro hac
                                                       vice)
                                                       Hogan Lovells US LLP
                                                       390 Madison Avenue
                                                       New York, NY 10017
                                                       (212) 918-3000
                                                       (212) 918-3100 (fax)
                                                       pieter.vantol@hoganlovells.com

                                                       and

                                                       David S. Victorson (Bar No.
                                                       1027025)
                                                       Kathryn Marshall Ali (Bar No.
                                                       994633)
                                                       Danielle Stempel* (admitted pro



                                                  2
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                                  hac vice)
                                  Hogan Lovells US LLP
                                  555 13th Street NW
                                  Washington, DC 20004
                                  (202) 637-5600
                                  (202) 637-5910 (fax)
                                  david.victorson@hoganlovells.com
                                  kathryn.ali@hoganlovells.com
                                  danielle.stempel@hoganlovells.com
                                  *
                                   Admitted only in Maryland;
                                  practice supervised by principals
                                  admitted in D.C.

                                  Counsel for Plaintiff Daniel Lewis
                                  Lee

                                  /s/ Alan E. Schoenfeld
                                  Alan E. Schoenfeld (admitted pro
                                  hac vice)
                                  Wilmer Cutler Pickering Hale and
                                  Dorr LLP
                                  7 World Trade Center
                                  250 Greenwich Street
                                  New York, New York 10007
                                  (212) 230-8800
                                  Alan.Schoenfeld@WilmerHale.com

                                  Andres Salinas (DC Bar No.
                                  156118)
                                  Wilmer Cutler Pickering Hale and
                                  Dorr LLP
                                  1875 Pennsylvania Avenue NW
                                  Washington, DC 20006
                                  (202) 663-6289
                                  Andres.Salinas@WilmerHale.com

                                  Counsel for Plaintiff Wesley Purkey

                                  /s/ Jon Jeffress
                                  Jon Jeffress
                                  KaiserDillon PLLC
                                  1099 14th Street NW
                                  8th Floor West
                                  Washington, DC 20005
                                  (202) 640-2850



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                                  jjeffress@kaiserdillon.com

                                  Timothy Kane, Assistant Federal
                                  Defender
                                  Shawn Nolan, Chief, Capital
                                  Habeas Unit
                                  Federal Community Defender
                                  Office,
                                    E.D. Pa.
                                  601 Walnut Street, Suite 545 West
                                  Philadelphia, PA 19106
                                  (215) 928-0520
                                  timothy_kane@fd.org
                                  shawn_nolan@fd.org

                                  Counsel for Plaintiff-Intervenor
                                  Dustin Lee Honken

                                  /s/ Kathryn L. Clune
                                  Kathryn L. Clune
                                  Crowell & Moring LLP
                                  1001 Pennsylvania Avenue NW
                                  Washington D.C. 20004-2595
                                  (202) 624-2705
                                  kclune@crowell.com

                                  Harry P. Cohen (pro hac vice
                                  pending)
                                  Michael K. Robles (pro hac vice
                                  pending)
                                  James K. Stronski (pro hac vice
                                  pending)
                                  Crowell & Moring LLP
                                  590 Madison Avenue
                                  New York, NY 10022
                                  (212) 223-4000
                                  (212) 223-4134 (fax)
                                  hcohen@crowell.com
                                  mrobles@crowell.com
                                  jstronski@crowell.com

                                  Jon M. Sands
                                  Dale A. Baich
                                  Jennifer M. Moreno
                                  Federal Public Defender
                                  District of Arizona



                              4
Case 1:19-mc-00145-TSC Document 132 Filed 07/12/20 Page 5 of 5




                                  850 West Adams Street, Suite 201
                                  Phoenix, Arizona 85007
                                  (602) 382-2816
                                  (602) 889-3960 (fax)
                                  jon_sands@fd.org
                                  dale_baich@fd.org
                                  jennifer_moreno@fd.org

                                  Counsel for Plaintiff Keith Nelson




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                    EXHIBIT 1
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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA


                                )
  DALE HARTKEMEYER (AKA SEIGEN) )
                                )
                   Plaintiff,   )
                                )
       v.                       )                      Case No. 2:20-cv-00336-JMS-MJD
                                )
  WILLIAM P. BARR, ET AL,       )
                                )
                   Defendants.  )
                                )

                              DECLARATION OF RICK WINTER

  I, Rick Winter, do hereby declare and state as follows:

  1.     I am employed by the United States Department of Justice, Federal Bureau of Prisons

         (“BOP”), as Regional Counsel for the BOP’s North Central Region. I have held this

         position since October 2016. I have been employed by the BOP since 1994.

  2.     The statements I make hereinafter are made on the basis of my review of the official files

         and records of the BOP, my own personal knowledge, or on the basis of information

         acquired by me through the performance of my official duties.

  3.     I previously provided a declaration in this matter stating that “as of July 2, 2020, ninety

         two staff members at FCC Terre Haute have been tested for COVID-19. Of those, one

         staff member at the FCI previously tested positive but has recovered. At the USP, no staff

         members have tested positive for COVID-19. No FCC staff members are currently positive

         for COVID-19.” See ECF No. 33, Ex. A ¶ 7.

  4.     On the morning of July 8, a BOP staff member at FCI Terre Haute learned that individuals

         with whom he visited the prior weekend tested positive for COVID-19. The staff member



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        immediately left work, which was at 11:30 a.m., and entered self-quarantine (i.e., he has

        not returned to FCI Terre Haute since departing on July 8).

  5.    On the evening of July 11, the staff member informed BOP that he received a positive

        COVID-19 test result earlier that day.

  6.    Between the staff member’s potential exposure and his departure on July 8, he, among

        other things, attended the law enforcement meeting with outside law enforcement in

        preparation for the scheduled executions; attended a meeting regarding the handling of

        demonstrators at the scheduled executions; and attended to an issue at the SCU.

  7.    Although the staff member did not wear a mask at all times during this period, he did not

        come into contact with the BOP execution protocol team, which arrived the afternoon of

        July 8 (i.e., after the staff member had departed), nor does he recall coming into contact

        with any members of the Crisis Support Team (CST), who are involved in victim witness

        transportation and logistics.

  8.    During this period, the staff member did not visit the execution facility or the adjacent

        command center, nor does he recall being in the witness staging area or any of the vehicles

        that will transport witnesses for the executions.

  9.    BOP is taking steps to determine with whom the staff member was in contact, and will

        follow guidelines issued by the Centers for Disease Control and Prevention. For the

        duration of the execution or until a negative test is obtained, BOP will ensure that those

        staff members identified as having had contact with the infected staff member do not have

        contact with the inmates scheduled for execution, ministers of record, witnesses of the

        execution, attorneys, or press.

  10.   BOP will continue to perform the mitigation measures identified in my prior declaration

        dated July 6, including temperature check and symptom screen all individuals arriving at

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on July 12, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all counsel of record. The names marked with an asterisk (*)

have no email provided on the docket or are no longer with the identified firms.

Alan Burch                                       Paul R. Perkins
U.S. Attorney’s Office for the District of       Civil Division, Department of Justice
Columbia                                         (202) 514-5090
(202) 252-2550                                   Email: Paul.R.Perkins@usdoj.gov
Email: alan.burch@usdoj.gov
                                                 Jonathan Kossak
Peter S. Smith                                   Civil Division, Department of Justice
United States Attorney's Office                  (202) 305-0612
Appellate Division                               Email: Jonathan.kossak@usdoj.gov
(202) 252-6769
Email: peter.smith@usdoj.gov                     Denise M. Clark
                                                 U.S. Attorney’s Office for the District of
Ethan P. Davis                                   Columbia
Civil Division, U.S. Department of Justice       (202) 252-6605
(202) 514-7830                                   Email: Denise.Clark@usdoj.gov
Email: Ethan.P.Davis@usdoj.gov
                                                 Jean Lin
Robert J. Erickson                               Civil Division, Department of Justice
US Department of Justice                         (202) 514-3716
(202) 514-2841                                   Jean.lin@usdoj.gov
Email: Robert.erickson@usdoj.gov
                                                 Cristen Cori Handley
Joshua Christopher Toll                          Civil Division, Department of Justice
KING & SPALDING LLP                              (202) 305-2677
(202) 737-8616                                   Cristen.Handley@usdoj.gov
Email: jtoll@kslaw.com
                                                 Paul F. Enzinna
Charles Anthony Zdebski                          ELLERMAN ENZINNA PLLC
ECKERT SEAMANS CHERIN &                          (202) 753-5553
MELLOTT, LLC                                     Email: penzinna@ellermanenzinna.com
(202) 659-6605
Email: czdebski@eckertseamans.com                Brandon David Almond
                                                 TROUTMAN SANDERS LLP
Gerald Wesley King, Jr.                          (202) 274-2864
FEDERAL DEFENDER PROGRAM, INC.                   Email: brandon.almond@troutmansanders.com
(404) 688-7530
Email: gerald_king@fd.org
      Case 1:19-mc-00145-TSC Document 132-2 Filed 07/12/20 Page 2 of 5




Charles Fredrick Walker              Donald P. Salzman
SKADDEN, ARPS, SLATE, MEAGHER &      SKADDEN, ARPS, SLATE, MEAGHER &
FLOM LLP                             FLOM LLP
(202) 371-7000                       (202) 371-7983
Email: Charles.Walker@skadden.com    Email: Donald.salzman@skadden.com

Celeste Bacchi                       Steven M. Albertson
OFFICE OF THE PUBLIC DEFENDER        SKADDEN, ARPS, SLATE, MEAGHER &
Capital Habeas Unit                  FLOM LLP
(213) 894-1887                       (202) 371-7112
Email: celeste_bacchi@fd.org         Email: Steven.Albertson@skadden.com

Jonathan Charles Aminoff             Craig Anthony Harbaugh
FEDERAL PUBLIC DEFENDER,             FEDERAL PUBLIC DEFENDER, CENTRAL
CENTRAL DISTRICT OF CALIFORNIA       DISTRICT OF CALIFORNIA
(213) 894-5374                       (213) 894-7865
Email: jonathan_aminoff@fd.org       Email: craig_harbaugh@fd.org

Billy H. Nolas                       Alexander Louis Kursman
FEDERAL COMMUNITY DEFENDER           OFFICE OF THE FEDERAL COMMUNITY
OFFICE FOR THE EDPA                  DEFENDER/EDPA
(215) 928-0520                       (215) 928-0520
Email: Billy_Nolas@fd.org            Email: Alex_Kursman@fd.org

*Jeanne Vosberg Sourgens             Kathryn B. Codd
VINSON & ELKINS LLP                  VINSON & ELKINS LLP
(202) 639-6633                       (202) 639-6536
                                     Email: kcodd@velaw.com
William E. Lawler, III
VINSON & ELKINS LLP                  Robert E. Waters
(202) 639-6676                       VINSON & ELKINS, L.L.P.(202) 737-0500
Email: wlawler@velaw.com             Email: rwaters@velaw.com

Evan D. Miller                       Yousri H. Omar
VINSON & ELKINS LLP                  VINSON & ELKINS LLP
(202) 639-6605                       (202) 639-6500
Email: EMiller@velaw.com             Email: yomar@velaw.com

Margaret O’Donnell                   *William E. Hoffman, Jr.
(502) 320-1837                       KING & SPALDING LLP
Email: mod@dcr.net                   (404) 572-3383

Abigail Bortnick                     Mark Joseph Hulkower
KING & SPALDING LLP                  STEPTOE & JOHNSON LLP
(202) 626-5502                       (202) 429-6221
Email: abortnick@kslaw.com           Email: mhulkower@steptoe.com
      Case 1:19-mc-00145-TSC Document 132-2 Filed 07/12/20 Page 3 of 5




Matthew John Herrington                   Robert A. Ayers
STEPTOE & JOHNSON LLP                     STEPTOE & JOHNSON LLP
(202) 429-8164                            (202) 429-6401
Email: mherrington@steptoe.com            Email: rayers@steptoe.com

Amy J. Lentz                              Robert L. McGlasson
STEPTOE & JOHNSON LLP                     MCGLASSON & ASSOCIATES, PC
(202) 429-1320                            (404) 314-7664
Email: Alentz@steptoe.com                 Email: rlmcglasson@comcast.net

Gary E. Proctor                           Sean D. O’Brien
LAW OFFICES OF GARY E. PROCTOR,           PUBLIC INTEREST LITIGATION CLINIC
LLC                                       (816) 363-2795
(410) 444-1500                            Email: dplc@dplclinic.com
Email: garyeproctor@gmail.com
                                          Shawn Nolan
Scott Wilson Braden                       FEDERAL COMMUNITY DEFENDER
FEDERAL PUBLIC DEFENDER,                  OFFICE, EDPA
EASTERN DISTRICT OF ARKANSAS              (215) 928-0520
(501) 324-6144                            Email: shawn.nolan@fd.org
Email: Scott_Braden@fd.org
                                          Joseph William Luby
Amy Gershenfeld Donnella                  FEDERAL PUBLIC DEFENDER/EDPA
FEDERAL COMMUNITY DEFENDER                (215) 928-0520
OFFICE FOR THE EDPA                       Email: joseph_luby@fd.org
(215) 928-0520
Email: amy_donnella@fd.org                Pieter Van Tol
                                          HOGAN LOVELLS US LLP
David Victorson                           (212) 918-3000
(202) 637-5600                            Email: Pieter.Vantol@hoganlovells.com
HOGAN LOVELLS US LLP
Email: David.Victorson@hoganlovells.com   Jonathan Jeffress
                                          KAISER DILLON, PLLC
John D. Beck                              (202) 640-2850
HOGAN LOVELLS US LLP                      Email: Jjeffress@kaiserdillon.com
(212) 918-3000
Email: john.beck@hoganlovells.com         Andrew Moshos
                                          MORRIS NICHOLS ARSHT & TUNNELL
Amelia J. Schmidt                         LLP
KAISER DILLON, PLLC                       (302) 351-9197
(202) 869-1301                            Email: Amoshos@mnat.com
Email: Aschmidt@kaiserdillon.com
      Case 1:19-mc-00145-TSC Document 132-2 Filed 07/12/20 Page 4 of 5




Norman Anderson                        Alan E. Schoenfeld
KAISER DILLON PLLC                     WILMER CUTLER PICKERING HALE &
(202) 640-2850                         DORR LLP
Email: nanderson@kaiserdillon.com      (212) 937-7294
                                       Email: Alan.Schoenfeld@wilmerhale.com
Jennifer Ying
MORRIS NICHOLS ARSHT & TUNNELL         Kathryn Louise Clune
LLP                                    CROWELL & MORING LLP
(302) 658-9300                         (202) 624-5116
Email: Jying@mnat.com                  Email: kclune@crowell.com

Andres C. Salinas                      Jennifer M. Moreno
WILMER CUTLER PICKERING HALE &         OFFICE OF THE PUBLIC FEDERAL
DORR LLP                               DEFENDER, DISTRICT OF ARIZONA
(202) 663-6289                         (602) 382-2718
Email: Andres.Salinas@wilmerhale.com   Email: Jennifer_moreno@fd.org

*Ryan M. Chabot                        Ginger Dawn Anders
WILMER CUTLER PICKERING HALE &         MUNGER, TOLLES & OLSON LLP
DORR LLP                               (202) 220-1107
(212) 295-6513                         Email: Ginger.anders@mto.com
Email: Ryan.Chabot@wilmerhale.com
                                       *Jonathan S. Meltzer
Dale Andrew Baich                      MUNGER, TOLLES & OLSON LLP
OFFICE OF THE FEDERAL PUBLIC           (202) 220-1100
DEFENDER
(602) 382-2816                         *Brendan Gants
Email: Dale_Baich@fd.org               MUNGER, TOLLES & OLSON LLP
                                       (202) 220-1100
Harry P. Cohen
CROWELL & MORING LLP                   *Timothy Kane
(212) 223-4000                         FEDERAL COMMUNITY DEFENDER
Email: hcohen@crowell.com              OFFICE, EDPA
                                       (215) 925-0520
Michael K. Robles
CROWELL & MORING LLP                   Jeffrey Lyn Ertel
(212) 223-4000                         FEDERAL DEFENDER PROGRAM, INC.
Email: mrobles@crowell.com             (303) 688-7530
                                       Email: Jeff_Ertel@fd.org
James Stronski
CROWELL & MORING LLP                   Stephen Northup
(212) 223-4000                         TROUTMAN SANDERS LLP
Email: jstronski@crowell.com           (804) 697-1240
                                       Email: steve.northup@troutmansanders.com
     Case 1:19-mc-00145-TSC Document 132-2 Filed 07/12/20 Page 5 of 5




*Jon M. Sands                        Danielle Desaulniers Stempel
OFFICE OF THE PUBLIC FEDERAL         HOGAN LOVELLS US LLP
DEFENDER, DISTRICT OF ARIZONA        (202) 804-7798
(602) 382-2816                       Email: danielle.stempel@hoganlovells.com

*Amy Karlin
INTERIM FEDERAL PUBLIC DEFENDER
(213) 894-2854


                                  /s/ Pieter Van Tol
                                  Pieter Van Tol (admitted pro hac vice)
